Case 8:21-cv-01736-TDC Document108_ Filed 09/19/24 Page 1of2

UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

MARYLAND SHALL ISSUE, INC.,
ENGAGE ARMAMENT, LLC,
ANDREW RAYMOND,

CARLOS RABANALES,
BRANDON FERRELL,

DERYCK WEAVER,

JOSHUA EDGAR,

L.C.E. FIREARMS & DEFENSIVE
TRAINING, LLC,

RONALD DAVID,

NANCY DAVID and Civil Action No. TDC-21-1736
ELITYAHU SHEMONY,

Plaintiffs,
Vv.
MONTGOMERY COUNTY, MARYLAND,

Defendant.

ORDER

On October 11, 2023, the Court stayed this case and ordered the parties to file a Joint Status

Report proposing next steps in this case within 14 days of a ruling from the United States Court of

Appeals for the Fourth Circuit in the earlier of either Bianchi v. Brown, No. 21-1255, or Maryland

Shall Issue, Inc. v. Moore, No. 21-2017. ECF No. 103. Having reviewed the parties’ Joint Status
Reports, ECF Nos. 106, 107, it is hereby ORDERED that:

1. This case will remain stayed until the final adjudication of the state law claims in the

Maryland state courts, up to and including any proceedings in the Supreme Court of

Maryland.
Case 8:21-cv-01736-TDC Document108 _ Filed 09/19/24 Page 2 of 2

2. The parties shall file a Joint Status Report proposing next steps in this case, including
whether the stay should be lifted, within 14 days of resolution of the final adjudication

of the state law claims in the Maryland state courts.

Date: September /4. 2024

THEODORE D. CH
United States District J
